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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                  PENSACOLA DIVISION


 IN RE: 3M COMBAT ARMS                         Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION


 This Document Relates to:                     Judge M. Casey Rodgers
                                               Magistrate Judge Gary R. Jones
 Keith Chandler v. 3M Company, et al; Case
 No. 3:19-cv-00633




                                 NOTICE OF APPEARANCE
        PLEASE TAKE NOTICE that Alfred A. Olinde, Jr. of The Olinde Firm,
 LLC, hereby enters his appearance as counsel for Plaintiff, Keith Chandler.
 Further, Mr. Olinde is attorney of record in the action transferred to this Court
 (MDL Case No. 2885) and has been administratively admitted pursuant to Pretrial
 Order No. 3 (ECF No. 4). All further papers and pleadings in this action should be
 served on the undersigned.




                                                Respectfully submitted,

Dated: May 2, 2019                           By: __s/Alfred A Olinde,Jr.___________
                                                Alfred A. Olinde, Jr., La. Bar # 20061
                                                THE OLINDE FIRM, LLC
                                                2 Sanctuary Blvd., Suite 205
                                                Mandeville, Louisiana 70471
                                                Telephone: (504) 587-1440
                                                Facsimile: (985) 231-7581
                                                Email: folinde@olindefirm.com
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                           CERTIFICATE OF SERVICE

      In compliance with Rule 5.1 (F) of the Local Rules of the United States District

Court for the Northern District of Florida, I hereby certify that on May 2, 2019, a copy

of the above and foregoing was electronically filed via the Court’s CM/ECF system.



                                   /s/ Alfred A Olinde, Jr.
                                  Alfred A. Olinde, Jr.
